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               THE UNITED STATES BANKRUPTCY COURT
                FOR THE DISTRICT OF SOUTH CAROLINA
                       CHARLESTON DIVISION


  IN RE: JUDY WEATHERFORD,               )              CASE NO.: 03-15184-JW
                                         )              Chapter 13
                           Debtor.       )
                                         )
                                         )
  JUDY WEATHERFORD,                      )
                                         )
                           Plaintiff,    )
                                         )           ADV. PRO. NO. 08-________JW
       -vs-                              )
                                         )
  TIMMARK, a South Carolina Partnership, )
  TIMOTHY SCHWARTZ, MARK CAREY, )
  CAREY HOLDINGS, INC., AND              )
  NATIONWIDE DEVELOPMENTS, INC., )
                                         )
                           Defendants. )
                                         )



             COMPLAINT FOR SANCTIONS, DAMAGES AND ATTORNEY’S
              FEES FOR VIOLATION OF THE AUTOMATIC STAY
                      11 USC § 362(k) & 11 USC § 105(a)



         NOW COMES the Debtor, and by counsel, alleges and complains of the

  Defendants, as follows:

                                     INTRODUCTION

                Debtor, Judy Weatherford, by and through her undersigned attorney,

  Philip Fairbanks, brings her complaint for the imposition of sanctions and the award of

  damages, attorney’s fees and injunctive relief, against Timmark, a South Carolina general

  partnership, its partners Timothy Schwartz, Mark Carey, Carey Holdings, Inc. and
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  Nationwide Developments, Inc., based upon willful violations of the “automatic stay”

  imposed pursuant to 11 USC § 362 upon the filing of a bankruptcy case.

                                         JURISDICTION, PARTIES, AND VENUE

                  1. Plaintiff/Debtor is an individual adult citizen of the State of South

       Carolina, residing in the County of Beaufort, and was at all times relevant to this

       complaint, a debtor in the above-captioned Chapter 13 case.

                  2. Defendant Timmark1 is, upon information and belief, a partnership formed

  and existing pursuant to the laws of the State of South Carolina, having its principal place

  of business, doing business, and owning assets in the County of Beaufort.

                  3. Defendants Timothy Schwartz and Marc Carey are, upon information and

  belief, adult citizens and residents of the County of Beaufort, South Carolina, and are and

  at all relevant times were partners in Timmark and controlling persons responsible for its

  actions.

                  4. Defendants Carey Holdings, Inc. and Nationwide Developments, Inc. are,

  upon information and belief, South Carolina corporations, and are and at all relevant

  times were partners in Timmark and controlling persons responsible for its actions.

                  5. This Court has personal and subject matter jurisdiction over this

       proceeding pursuant to 28 USC § 1334, 28 USC § 157(b)(2), and the Order of

       Reference entered by the District Court.

                  6. Venue is proper in this district pursuant to 28 USC § 1409(a), as this

  proceeding arises under and relates to a case under the bankruptcy Code that is pending

  here.
  1
    The name “Timmark” does not appear in any guise among the business listings of the Secretary of State of South Carolina. The
  Defendants Timothy Schwartz and Mark Carey have used the appellation in their own legal papers, and “Timmark” is listed as a real
  estate owner. In the real estate documents, it appears that “Timmark” is a partnership consisting of Nationwide Developments, Inc., of
  which Defendant Schwartz is “President,” and Carey Holdings, Inc.,of which Defendant Carey is “President.”



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               7. This matter is a core proceeding and this Court has jurisdiction to enter a

  final order. In the event this case is determined to be non-core, Plaintiff consents to entry

  of a final order by the Bankruptcy Judge.

                                      FACTUAL ALLEGATIONS

         8.       Debtor filed her Chapter 13 bankruptcy on December 5, 2003. It was

  confirmed on March 30, 2004.

         9.       On March 10, 2006, Debtor’s case was dismissed for failure to make

  payments to the trustee. However, on May 12, 2006, after notice and hearing, the Order

  dismissing her case was vacated by Order of this Court. Since then Debtor has remained

  current in her plan payments and otherwise performed her duties as a debtor, according to

  her Chapter 13 plan and otherwise, and has received a discharge, dated December 5,

  2007, pursuant to 11 USC § 1328(a).

         10.        In January, 2003, acting solely on behalf of and as agent for Finishing

  Touches, an unincorporated business owned and operated by her brother, by which she

  was employed, Debtor filed a complaint in the Magistrate’s Court for Beaufort County,

  South Carolina, against Timothy Schwartz, Marc Carey and Nationwide Developments,

  Inc., of which Defendant Schwartz is President, with which Finishing Touches had

  contractual relations. [Exhibit A. All exhibits are attached to the Declaration

  accompanying this Complaint.]

         11.        On or about February 13, 2003, Larry Weidner, an attorney representing

  Timmark and its partners, filed an Answer and Counterclaim in the Beaufort County

  Magistrate’s Court, alleging that Timmark should have been named defendant in the suit

  by Finishing Touches, and that Schwartz and Carey were not true and proper defendants.




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  The counterclaim alleged that Debtor, in her individual capacity, among others, should

  have been named as a plaintiff in the case. The counterclaim sought damages exceeding

  the Magistrate’s jurisdictional limits jointly and severally against Debtor and other parties

  alleged to be “proper” plaintiffs. Weidner also moved on his clients’ behalves to have the

  case transferred to the Court of Common Pleas, which it was. [Exhibits B and C].

         12.      Debtor was not served with and did not otherwise receive a copy of the

  Answer and Counterclaim, and remained unaware of the actions of Timmark, Schwartz,

  and Carey in response to the suit filed by Finishing Touches generally, and in particular,

  as they related to her personally.

         13.     Two years later, in April and May, 2005, after no activity of which Debtor

  was aware had occurred in either the Magistrate’s Court or the Circuit Court, Mr.

  Weidner resurrected the case by sending discovery requests to Finishing Touches and

  filing a motion to compel in Circuit Court. The motion requested that the “Plaintiffs’ [sic]

  Complaint” be stricken and any affirmative relief be denied them; that the allegations of

  the Answer and Counterclaim “be taken as established;” and that the Court enter “[a]n

  Order granting judgment by default against Plaintiffs” and award other relief against

  Debtor and her brother for their supposed contemptuous refusal to comply with the rules

  of discovery. [Exhibit D].

         14. In late June, 2005, Mr. Weidner filed an Affidavit of Default and Order for

  Entry of Default against Debtor (and other counterclaim defendants) signed by the

  presiding judge of the Court of Common Pleas. Both the Motion to Compel and the

  Affidavit of Default are accompanied by Certificates of Service certifying that service

  was made upon Finishing Touches. No other party was served according to the




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  certificates of service. Nor was Debtor apprised that the action she had originally filed in

  Magistrate’s Court had been dismissed for lack of prosecution in the Circuit Court.

  [Exhibits E, F, and G].

         15. Debtor denies receiving the pleadings and further denies actual knowledge of

  those documents or of the existence or continuation of the proceedings, until September,

  2005, when her brother received a Notice of Hearing requiring his and Debtor’s presence,

  apparently for the purpose of determining damages. [Exhibit H].

         16. When he received that Notice, Debtor’s brother called the Debtor, who

  immediately called Mr. Weidner’s office and asked to speak to him.

         17. When she was told that Weidner was not available, Debtor told his secretary

  the reason for her call. She stated that she was in a Chapter 13 bankruptcy and provided

  her case number and the name and telephone number of her bankruptcy lawyer. Finally,

  she requested that Mr. Weidner promptly be given that information and demanded he call

  her or her bankruptcy attorney immediately.

         18. After hearing nothing from Mr. Weidner for about a week, Ms. Weatherford

  went to Mr. Weidner’s office. She again asked to speak to Mr. Weidner and was again

  told he was not available. Ms. Weatherford repeated the information she provided during

  the earlier telephone call, to wit: her bankruptcy case number and her bankruptcy

  lawyer’s name and address. She also gave Mr. Weidner’s employee a copy of the Form

  B9I Notice of Chapter 13 Bankruptcy Case, issued by this Court. Mr. Weidner’s

  employee stated that she had related the same information to Mr. Weidner following

  Debtor’s telephone call of the previous week.




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         19. Within several weeks after she visited Mr. Weidner’s office, Debtor’s brother

  called to tell her he had received a notice from the court to the effect that the “case had

  been dismissed.”

         20. Debtor went to the Magistrate’s Court to confirm that information. She was

  told that the information was correct and that she needed to take no additional action.

  Debtor reasonably assumed that the dismissal was the result of actions taken by Mr.

  Weidner in response to the information she had provided about her bankruptcy case. In

  fact, it was only the Magistrate’s Court action that was dismissed – Defendants were

  continuing to prosecute the Common Pleas action despite having been advised of Ms.

  Weatherford’s bankruptcy case, and without the knowledge of Debtor or her counsel.

         21. On December 15, 2005, at Defendants’ behest, the Master-in-Equity for

  Beaufort County issued an Order of Judgment against, inter alia, Debtor, in the amount

  of $34, 875.00. [Exhibits I, J, and K].

         22. On or about January 6, 2006, Defendants delivered an execution of that

  judgment to the Sheriff of Beaufort County.

         23. On or about March 2, 2006, the Sheriff of Beaufort County sent Defendants’

  attorney a “Nulla Bona” letter informing them that “[t]he defendant has filed bankruptcy,

  Bankruptcy case number 03-15184.” [Exhibit L].

         24. Despite the Nulla Bona letter issued by the Sheriff, on or about March 21,

  2006, Debtor received a Notice of Levy and intent to advertise Debtor’s real estate for

  sale unless payment was made within seven days pursuant to the Order of Judgment in

  the amount of $36,896.00. [Exhibit M].




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           25. Additionally, Mr. Schwartz personally made at least one verbal threat directly

  to Debtor that unless Defendants received weekly payments of nearly $7,500.00 toward

  the judgment, Debtor’s home would be sold without delay.

           26.   Before she was able to contact her attorney, who was temporarily

  unavailable, and under extreme emotional duress at the prospect of having law

  enforcement officers remove her and her family from their home and sell it, Debtor paid

  $14,758.56 to the Beaufort County Sheriff’s Department as a result of those threats.

  [Exhibit N].

           27. When, after several weeks, she was able to contact her bankruptcy attorney,

  he filed a motion and on May 12, 2006, this Court vacated the Order dismissing Debtor’s

  case, and the automatic stay was reinstated.

           28. As a result of the trauma caused by the prospect of losing her home, Debtor

  was required to seek medical treatment and suffered extreme emotional distress and

  suffering.

           29. Debtor has incurred attorney’s fees and other expenses as will be proved at

  trial.

           30. Despite the reinstatement of the stay, Defendants again attempted to have the

  Sheriff levy upon Debtor’s property in satisfaction of their judgment in June, 2006.

           31. On June 26, 2006, the Sheriff’s Department sent Defendants’ attorney a

  second “Nulla Bona” letter. That letter also stated that Ms. Weatherford had filed

  bankruptcy and provided her case number. [Exhibit O].

           32.    Debtor heard nothing more about the Timmark matter until on or about

  December 6, 2007, when she received a telephone call from the Beaufort County




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  Sheriff’s Department, again threatening to sell her home if she failed to satisfy the

  balance of the Timmark judgment at the earliest possible time.

         33.        Ms. Weatherford called her attorney, who immediately provided the

  Sheriff’s Office with evidence of her case number.

                                FOR A FIRST CAUSE OF ACTION
                            VIOLATION OF THE AUTOMATIC STAY

         34. Each allegation set forth above is hereby realleged as fully as if here set

  forth verbatim.

         35. Defendants had actual notice of Debtor’s bankruptcy case no later than

  September, 2005, when Debtor personally telephoned and visited Defendants’ attorney’s

  office and provided that information, including her case number and the identity of her

  bankruptcy attorney on two occasions.

         36. Despite notice, Defendants willfully violated the automatic stay when, on

  December 15, 2005, Defendants, through their attorney, procured an Order of Judgment

  against Debtor personally, in favor of Timmark.

         37.        Despite notice, Defendants willfully violated the automatic stay when, on

  December 20, 2005, Defendants served the Order of Judgment by mail in an attempt to

  coerce payment from Debtor.

         38. Despite notice, Defendants willfully violated the automatic stay when, on

  or about January 6, 2006, Defendants delivered an execution of the judgment to the

  Sheriff of Beaufort County.

                            FOR A SECOND CAUSE OF ACTION
                          VIOLATION OF THE AUTOMATIC STAY

         39. Each allegation set forth above is hereby realleged as fully as if here set




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  forth verbatim.

         40. Defendants had additional actual notice of Debtor’s bankruptcy case no later

  than March 6, 2006, when the Sheriff of Beaufort County sent their attorney a “Nulla

  Bona” letter advising, inter alia, that “[t]he defendant has filed bankruptcy, Bankruptcy

  case number 03-15184.”

         41. Defendants willfully violated the automatic stay when, despite the “Nulla

  Bona” letter issued by the Sheriff, on or about March 28, 2006, Debtor received a Notice

  of Levy and intent to advertise Debtor’s real estate for sale unless payment was made

  within seven days pursuant to the Order of Judgment in the amount of $ 36,896.00.

         42. Despite notice, Defendants willfully violated the automatic stay when, in

  March or April, 2006, as a result of Defendants’ attempts to collect the judgment, Debtor

  paid a total of $14,758.56 to the Sheriff of Beaufort County, which was, upon

  information and belief, delivered to Defendants or Defendants’ counsel.

         43. Despite notice, Defendants willfully violated the automatic stay when,

  sometime in late May or June, 2006, Defendants again attempted to have Debtor’s

  property levied upon in satisfaction of the judgment.

                           FOR A THIRD CAUSE OF ACTION
                        VIOLATION OF THE AUTOMATIC STAY

         44. Each allegation set forth above is hereby realleged as fully as if here set forth

  verbatim.

         45. On June 26, 2006, the Sheriff of Beaufort County sent Defendants’ attorney a

  second “nulla bona” letter, which also advised that Debtor was in a bankruptcy case and

  provided the case number.

         46. Despite notice, Defendants willfully violated the automatic stay when, on



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  December 6, 2007, Debtor was contacted by the Beaufort County Sheriff’s Department,

  who informed her that Timmark was again pursuing its judgment and that unless she

  produced funds sufficient to satisfy the balance of the judgment, her home would be sold.

                          FOR A FOURTH CAUSE OF ACTION
                        VIOLATION OF THE AUTOMATIC STAY

         47. Each allegation set forth above is hereby realleged as fully as if here set forth

  verbatim.

         48. Despite notice, Defendants repeatedly and willfully violated the automatic

  stay when, despite notice of Debtor’s bankruptcy case, they failed to take action to vacate

  the judgment they had procured in violation of the automatic stay, instead allowing, if not

  encouraging, successive efforts to have it enforced and collected.

                            FOR A FIFTH CAUSE OF ACTION
                                CONTEMPT OF COURT
                                    11 USC § 105(a)

         49. Each allegation set forth above is hereby realleged as fully as if here set forth

  verbatim.

         50. Defendants’ numerous violations of the automatic stay constitute contempt of

  the order of this Court represented by the automatic stay of 11 USC § 362.

         51. Defendants’ contempt should be punished in order to preserve the dignity of

  the Court and the administration of justice and the Bankruptcy Code.

                                   PRAYER FOR RELIEF

         Debtor respectfully prays for the following relief from this Court for Defendants’

  willful and contemptuous abuse of legal process and numerous violations of the

  “automatic stay” pursuant to 11 USC §362(k) and 11 USC § 105(a):

         1.      Actual damages in an amount to be proved at trial;



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       2.     Pre-judgment interest on the actual damages;

       3.     Damages for Debtor’s emotional distress, humiliation, anguish, anxiety,
              and embarrassment caused by Defendants’ unlawful conduct in an amount
              not less than $15,000.00;

       4.     Attorney’s fees and costs for bringing this action;

       5.     Sanctions for the Defendants’ contempt of Court;

       6.     Punitive damages for Defendants’ egregious and inexcusable conduct and
              failure to correct results of that conduct despite repeated notice and
              opportunities to do so;

       7.     An Order requiring Defendants immediately to mark “satisfied” or to
              vacate the judgment at issue, to protect Debtor from the harmful credit
              effects of an unlawfully recorded judgment ; and,

       8.     Such additional relief as the Court deems appropriate in the circumstances.


                                                           Respectfully Submitted,

                                                           /S/ Philip Fairbanks
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                                                           1214 King Street
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                                                           Attorney for the Debtor


       April ________, 2008

       Beaufort, South Carolina




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